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                             UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

IN RE:                                               )
                                                     )
Jonathan Schellhorn                                  )        Case # 8:20-bk-06484-CPM
                                                     )        Chapter 7
                                                     )
                 Debtor(s)                           )

    CHAPTER 7 TRUSTEE’S MOTION TO (I) APPROVE A SHORT SALE OF REAL
     PROPERTY FREE AND CLEAR OF LIENS, CLAIMS, ENCUMBRANCES, AND
  INTERESTS PURSUANT TO 11 U.S.C. § 363(b), (f), AND (m), (II) BID PROCEDURES,
(III) SURCHARGE AGREEMENT BETWEEN SECURED LENDER AND THE ESTATE,
     (IV) SECURED LENDER’S RIGHT TO CREDIT BID, AND (V ) OTHER RELIEF

         Traci Stevenson, Chapter 7 Trustee (the “Trustee”) duly appointed Chapter 7 Trustee for

the above referenced debtor (the “Debtor”) pursuant to Sections 105 and 363 of the Bankruptcy

Code hereby files this motion (“Motion”) for entry of an order for authority to sell certain real

property free and clear of all liens, encumbrances, and interests. In support thereof, the Trustee

respectfully states as follows:

                                           JURISDICTION

         1.      This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157

and 1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(A), (M),

(N), and (O).

         2.      Venue is proper before this Court pursuant to 28 U.S.C. §§1408 and 1409.

         3.      The basis for the relief requested are 11 U.S.C. §§ 363(b), (f), and (m), Federal

Rules of Bankruptcy Procedure 2002 and 6004.

                                           BACKGROUND

         4.      On August 27, 2020 the Debtor commenced this case by filing a voluntary petition

for relief under Chapter 7 of the United States Bankruptcy Code (the “Petition Date”).

         5.      Traci Stevenson is the duly appointed and qualified Chapter 7 Trustee

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        6.       The Trustee held and concluded the 341 meeting of creditors on September 30,

        2020.

        7.       The Debtor/Debtors scheduled a 100% ownership interest in the real property

located at 12723 Ivory Stone Loop Fort Myers, FL 33913 (the “Property”) and legally described

as follows:

                 Lot 14, Block F, Stoneybrook at Gateway - Unit 1, according to the map or plat
                 thereof, as recorded in Plat Book 75, Page(s) 51 through 68, inclusive, of the Public
                 Records of Lee County, Florida.




        8.       The Debtor scheduled the Property as having a value of $236,607.00 subject to a

mortgage in favor of The Federal Savings Bank (the “Secured Creditors”) in the amount owed on

the Petition Date of approximately $313,757.00.


        9.       The Trustee, after reviewing certain materials, including (without limitation) the

BK Score™1, sales analysis report and opinion of value for the Property provided by BK Global

(“BKRES”) and Listing Agent, has determined it to be in the best interest of the Debtor’s estate

and all creditors to negotiate to obtain Secured Creditor’s agreement and consent (“Consent”) to:

                 a. sell the Property to whichever third party Trustee determines to have made the

                      best qualified offer during a public sale approved by the Court;

                 b. release the Senior Mortgage and otherwise waive all of its claims against the

                      estate with respect to the Property (including any deficiency claims resulting

                      from the proposed sale); and

                 c. agree to a 11 U.S.C. § 506 surcharge to pay all of the expenses associated with

                      the proposed sale, including the payment of a 6% real estate brokerage



1
  The BK Score™ is a 100-point rating that is generated by a proprietary algorithm from 10 unique property
attributes in order to consistently measure sales confidence and predict market value.
                                                                                                             2
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                     commission to BKRES and Listing Agent and reimbursement of their out-of-

                     pocket expenses, and provide a carve out for the benefit of allowed unsecured

                     creditors of the Debtor’s estate.

       10. The Secured Creditor has represented and warranted that it possesses a valid, perfected,

enforceable and unavoidable first mortgage lien on the Property by virtue of a promissory note and

mortgage recorded in the Official Records Book 2164, Page 881, which Mortgage is now held by

Green Tree Servicing, LLS its Successors or Assigns, by virtue of Assignment(s) of Mortgage

recorded in Official Records Book 2333, Page 5528, consisting of principal and Interest (the

“Secured Creditor Indebtedness”).

                                          RELIEF REQUESTED

       13.      The Trustee requests the entry of an order pursuant to Section 363 of the

Bankruptcy Code approving the sale of the Property, using the services of BKRES and Listing

Agent, free and clear of all liens, claims, encumbrances, and interests. As a material inducement

to the Trustee’s decision to pursue the proposed sale, the Secured Creditor consents to the

Property’s sale and the creation of a carve-out fund (the “Carve-Out Fund”) that will provide for

the costs of this case to be paid and provide a recovery for other creditors. The Trustee requests

that any creditor (other than the Secured Creditor) asserting an interest or secured claim against

the Property be required to assert no later than 5 days prior to the hearing on the instant Motion,

and substantiate the basis for such asserted interest or secured claim, or the Court will authorize

the sale of the Property free and clear of any such asserted interest or security interest, with such

claims, at best, being treated as a general unsecured claim.




                                           BASIS FOR RELIEF

                A.      The Sale of the Property Should Be Approved
                                                                                                   3
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       14.      The Trustee seeks the Court’s authority to sell the Property free and clear of all

liens, claims, encumbrances, and interests, but otherwise “As-Is, Where-Is” and without

representations or warranties of any type, express or implied, being given by the Trustee and his

professionals, pursuant to the Sale procedures described below.

       15.      Pursuant to Section 363(b) of the Bankruptcy Code, a Trustee, after notice and

hearing, may use, sell, or lease property of the Debtor’s estate other than in the ordinary course of

business. The Court should approve the sale if the Trustee can demonstrate a sound business

justification for the sale and if the sale process is fair, open, and reasonable. See Official Comm.

Of Unsecured Creditors of LTV Aerospace & Defense Co. v. LTV Corp. (In re Chateaugay Corp.),

973 F.2d 141, 143 (2d Cir. 1992); see also In re Sarah’s Tent, LLC, 396 B.R. 571, 573 (Bankr.

S.D. Fla. 2008). Further, Bankruptcy Rule 6004(f) contemplates sales outside of the ordinary

course of business.

       16.      The Trustee, through the services of BKRES and Listing Agent, have listed the

property and accepted an offer that has been approved by the Secured Creditor and will result in a

carve-out for the Bankruptcy Estate of $9,300.00. Attached as Exhibit “A” are the HUD and letter

of consent/approval from the Secured Creditor.

       17.      Accordingly, the Trustee submits that the sale of the Property pursuant to the above

process is reasonable under Section 363(b) of the Bankruptcy Code.

       B.       The Sale of the Property Should Be Approved Free and Clear of All
                      Interests

       18.      Pursuant to Section 363(f) of the Bankruptcy Code, the Trustee may sell property

free and clear of any interest in such property in an entity other than the estate if (1) permitted

under applicable non-bankruptcy law; (2) the party asserting such interest consents; (3) the interest

is a lien and the purchase price at which the property is to be sold is greater than the aggregate

value of all liens on the property; (4) the interest is the subject of a bona fide dispute; or (5) the

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party asserting the interest could be compelled, in a legal or equitable proceeding, to accept a

money satisfaction for such interest. See In re Smart World Techs., LLC, 423 F.3d 166, 169 n.3

(2d Cir. 2005) (“Section 363 permits sales of assets free and clear of claims and interests . . . It

thus allows purchasers . . . to acquire assets [from a debtor] without any accompanying

liabilities.”); see also In re MMH Auto. Group, LLC, 385 B.R. 347, 367 (Bankr. S.D. Fla. 2008).

           19.      The Trustee states that he shall satisfy Section 363(f)(2) of the Bankruptcy Code

because the Secured Creditor consents to a sale of the property under Section 363(f)(2) of the

Bankruptcy Code, free and clear of all liens, claims, encumbrances, and interests.

           20. The Trustee requests that any creditor (other than the Secured Creditor) asserting an

interest or secured claim against the Property, after proper notice is given, be required to timely

assert and substantiate the basis for such asserted interest or secured claim, by filing and serving

responsive papers no later than 5 days prior to the hearing on the instant Motion, or the Court will

authorize the sale of the Property free and clear of any such asserted interest or security interest,

with such claims, at best, being treated as a general unsecured claim.2 Failure to object after proper

notice and opportunity to object is deemed consent. See BAC Home Loans Servicing LP v. Grassi,

2011 WL 6096509 (1st Cir. BAP Nov. 21, 2011); Citicorp Homeowners Servs., Inc. v. Elliott, 94

B.R. 343 (E.D. Pa. 1988); In re Gabel, 61 B.R. 661 (Bankr. W.D. La. 1985); Futuresourse LLC v.

Reuters Ltd., 312 F.3d 281 (7th Cir.); In re Harbour E. Dev., Ltd., 2012WL1851015, at *12 (Bankr.

S.D. Fla., May 21, 2012).

           21.      Accordingly, under Section 363(f)(2) of the Bankruptcy Code, the Trustee seeks

authority to sell the Property free and clear of all liens, claims, encumbrances, and interests but

otherwise “As-Is, Where-Is” and without representations or warranties of any type given by the

Trustee or his professionals. Notwithstanding that the Trustee will seek authority to execute all



2
    The Trustee reserves the right to dispute the alleged amount of any such claim both to validity and amount.
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documents and instruments he deems reasonable, necessary and/or desirable to close the sale, the

only documents that the Trustee shall be required to deliver to close shall be (a) a Trustee’s Deed,

and (b) a copy of the Final Sale Order.

       22.      The Secured Creditor agrees to pay at closing (1) all outstanding real estate taxes,

including any prorated amounts due for the current tax year; (2) if applicable, the lesser of any

HOA fees accrued post-petition or the equivalent to twelve months’ assessments and (3) all closing

costs excluding professional fees but including State Documentary Stamps for the entire closing

price pursuant to Florida Statue Sections 201.01 and 201.02; (4) the carve out to the Trustee. Any

payments by the Secured Creditor as stated herein shall be subject to any and all limitations on the

Secured Creditor’s liability for any fees and costs under applicable law.

       C.       The Sale Will Be Undertaken by the Buyer in Good Faith

       23.      Section 363(m) of the Bankruptcy Code protects a good faith purchaser’s interest

in property purchased from a debtor notwithstanding that the sale conducted under section 363(b)

was later reversed or modified on appeal.

       24.      The sale should be found to have been in good faith if the Trustee can demonstrate

the transaction occurred at arm’s-length and without fraud or collusion. See Kabro Assocs. of West

Islip, LLC v. Colony Hill Assocs. (In re Colony Hill Assocs.), 111 F.3d 269, 276 (2d Cir. 1997)

(“Typically, the misconduct that would destroy a purchaser’s good faith status at a judicial sale

involves fraud, collusion between the purchaser and other bidders or the trustee, or an attempt to

take grossly unfair advantage of other bidders.” (citation omitted)); see also In re Lorraine Brooke

Associates, Inc., No. 07-12641 2007 WL 2257608 (Bankr. S.D. Fla. Aug. 2, 2007) (holding that a

sale was entitled to the protections of Section 363(m) of the Bankruptcy Code when it was based

upon arm’s length bargaining and without collusion).

       25.      The Trustee asserts that the sale of the Property will utilize a competitive and

transparent marketplace that facilitates an arm’s-length sale without fraud or collusion.
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Accordingly, the Trustee respectfully requests that the Court find that the purchaser(s) will be

entitled to the protections of Section 363(m) of the Bankruptcy Code.

        26.      The Trustee further states that:

                 (a)    the Trustee has reviewed the tax implications of the proposed Sale and has

determined that the proposed sale will not result in a capital gains tax event to the estate or other

taxable event which would negate the benefit realized from the Carve Out;

                 (b)    the Trustee has determined, based upon a review of the schedules and

information derived from the 341 meeting, that there will likely be a meaningful distribution to

creditors based upon the understanding that the final sale price and the total dollar amount of claims

to be filed in this case are both unknown and can only be estimated at this time; and

                 (c)    Given the information available at this time, the Trustee has made an

educated evaluation and determined that the proposed Sale is in the best interest of the estate and

its creditors.

        27. The Trustee respectfully requests that this Court: (a) waive the 14 day stay pursuant to

Rule 6004(h), deem the sale order enforceable immediately upon entry, and authorize the Trustee

to close on the sale immediately upon entry of the Final Sale Order; (b) authorize the Trustee to

take all actions and execute all documents he deems reasonable, necessary and/or desirable to

effectuate the requested relief; (c) retain sole and exclusive personal subject matter jurisdiction to

implement, interpret and enforce the terms of the this Motion and the Final Sale Order; and (d)

adjudicate all claims, controversies and/or disputes arising from or related to the proposed sale.

                                             CONCLUSION

        WHEREFORE, the Trustee respectfully requests that the Court enters an Order approving

the short sale of the Property pursuant to Sections 105 and 363 of the Bankruptcy Code and for

such other and further relief as this Court deems just and equitable under the circumstances of the


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case.

        Under penalty of perjury, I have read the foregoing Motion and it is true and correct to the
best of my knowledge information and belief. I HEREBY CERTIFY that a true and correct copy
of the foregoing Motion has been furnished via first-class United States Mail, postage prepaid, or
via electronic file transfer this 8th day of July, 2021 to:


                                                     /s/Traci Stevenson
                                                     Traci Stevenson, Trustee
                                                     P.O. Box 86690
                                                     Madeira Beach, FL 33738
                                                     Phone: (727) 397-4838
                                                     E-mail: tracikstevenson@gmail.com




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